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                                         U.S. Department of Justice
[Type text]
                                                      United States Attorney
                                                      Southern District of New York

                                                      The Silvio J. Mollo Building
                                                      One Saint Andrew’s Plaza
                                                      New York, New York 10007


                                                        November 4, 2020



By ECF
The Honorable Alvin K. Hellerstein
United States District Judge
Southern District of New York
United State Courthouse
500 Pearl Street, Courtroom 14D
New York, New York 10007

       Re:     United States v. Cliver Antonio Alcala Cordones, S2 11 Cr. 205 (AKH)

Dear Judge Hellerstein:

         We write on behalf of the parties with respect to the conference currently scheduled for
November 9, 2020, at 11:00 a.m. The Government has made several significant discovery
productions to the defendant, and the defendant is continuing to review that material. The
Government also understands that defense counsel recently met with the defendant virtually for
the first time in light of the COVID-19 restrictions. Accordingly, the parties respectfully request
a 60-day adjournment of the upcoming conference date. The Government also respectfully
requests that, in light of the COVID-19 pandemic and to allow for the continued review of
discovery, the Court exclude time through the date of the new conference, in the interests of justice
pursuant to 18 U.S.C. § 3161(h)(7)(A). Defense counsel consents to these requests.

                                                        Respectfully submitted,
                                                        AUDREY STRAUSS
                                                        Acting United States Attorney


                                                  By:          /s/
                                                        Amanda Houle
                                                        Matthew Laroche
                                                        Jason A. Richman
                                                        Kyle Wirshba
                                                        Assistant United States Attorneys
                                                        (212) 637-2194/2420/2589/2493

cc:    Defense counsel (by ECF)
